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                                             March 31, 2021
 Via ECF:
Hon. Vernon S. Broderick
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

                                Re: Ema Financial, LLC v. TPT Global Tech, Inc.
                                    Case No. 20-cv-08781-ALC-GWG

Dear Judge Broderick:

        We represent plaintiff EMA Financial LLC (“EMA”) with respect to the above
referenced matter. We write with regards to Defendant’s letter to the Court, dated March 29,
2021 requesting a briefing schedule for the two motions filed by Plaintiff (the “Motions”).
Plaintiff opposes Defendant’s application for a conference.

       Today, counsel for Plaintiff and Defendant met and conferred with regards to a briefing
schedule for the Motions. The parties agreed that Defendant would submit its opposition by
the end of April, 2021 and Plaintiff would reply by May 15, 2021. As a briefing schedule has
been mutually agreed upon by the two parties, it is EMA’s position that a conference is
unnecessary and ultimately a waste of judicial resources. Indeed, other than setting a briefing
schedule (that the parties have now agreed to) Defendant’s letter is unclear as to what the
purpose of the conference would be.

       We thank the Court for its consideration.


                                             Respectfully Submitted,

                                             By: /s/ Jeffrey Fleischmann




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